Case 1:21-cr-00052-TJK Document 157 Filed 04/17/24 Page 1 of 3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2023

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-52-2
v.
: VIOLATIONS:
WILLIAM PEPE, > 18U.S.C. § 231(a)GB)
: (Civil Disorder)
Defendant. : 18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1512(c)(1)

(Tampering with Records, Documents, or
Objects) .

SECOND SUPERSEDING INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, WILLIAM PEPE
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers lawfully engaged in the lawful performance of their official duties incident to and during
the commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))
Case 1:21-cr-00052-TJK Document 157 Filed 04/17/24 Page 2 of 3

COUNT TWO

On or about January 6, 2021, within the District of Columbia and elsewhere, WELLIAM
PEPE attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that
is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§

15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE

On or about January 6, 2021, within the District of Columbia, WILLIAM PEPE did
knowingly enter and remain.in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, WILLIAM PEPE did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
Case 1:21-cr-00052-TJK Document 157 Filed 04/17/24 Page 3 of 3

COUNT FIVE

Beginning on or about January 6, 2021, and ending no later than on or about January 12,
2021, in the District of Columbia and elsewhere, WILLIAM PEPE did corruptly alter, destroy,
mutilate and conceal a record, document, and other object, that is, data on a cell phone, and
attempted to do so, with the intent to impair the integrity and availability of data on the phone for
use in an official proceeding in the District of Columbia, that is, the grand jury investigation into
the attack on the Capitol on January 6, 2021, and the federal criminal prosecution of PEPE in the
United States District Court for the District of Columbia.

(Tampering with Records, Documents, or Other Objects, in violation of Title 18,
United States Code, Section 1512(c)(1))

A TRUE BILL:

FOREPERSON

Milt s J,
nited Stafes i

Attorney of the
and for the District of Columbit

